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                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (“FBI”) and I am
assigned to the Dallas field office. Currently, I am tasked with investigating criminal activity in
and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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        On or about May 2, 2021, the FBI received an online tip from an individual (“Witness-1”),
regarding the person appearing in photograph 325-AFO-A, which had been disseminated by the
FBI for the purpose of identifying individuals involved in the Capitol Riots on January 6. Witness-
1 stated that he/she had placed an image of 325-AFO-A onto a public facial recognition search
tool and that the results identified a motorcycle-based YouTube channel called “CliffCares”
belonging to an individual with an identical beard, facial features, and “Infowars” baseball hat as
seen in 325-AFO-A. Witness-1 further stated that a Google search of “Cliffcares” revealed a
motorcycle repair business. A copy of photograph 325-AFO-A is shown below.




        The FBI conducted a Google search of “CliffCares” and “motorcycle” and found a publicly
accessible YouTube channel titled “CliffCares,” a publicly accessible Facebook business page
titled “Cliff's Mobile Motorcycle Tires,” and an Instagram account titled “CauseCliffCares.” All
three social media accounts appeared to be operated by an individual matching the appearance of
the individual depicted in 325-AFO-A. In several videos on these social media accounts, the
individual is wearing the same “Infowars” baseball cap seen in 325-AFO-A.

        The Facebook business page included a posted photograph of an Arlington, Texas police
officer’s motorcycle, and a comment below the post was from an Arlington, Texas police officer
(“Officer-1”) who thanked “Cliff” for a tire change. On or about June 4, 2021, the FBI interviewed
Officer-1. Officer-1 was shown a photograph of an individual at the Capitol Riots on January 6,
2021 and identified the individual in the photo as “Cliff,” who Officer-1 had previously hired to
work on Officer-1’s motorcycle. Officer-1 said “Cliff” had provided Officer-1 with a telephone
number ending in 7148 to contact him. Officer-1 also directed the FBI to another Arlington, Texas
police officer (“Officer-2”) who had used “Cliff’s” repair services.

        On or about June 7, 2021, the FBI interviewed Officer-2. Officer-2 was shown the same
photograph shown to Officer-1, and recognized the individual as “Cliff” who owned a motorcycle
tire replacement business in Texas. Officer-2 said that “Cliff” had provided Officer-2 with the
same telephone number ending in 7148 as was given to Officer-1.

      The Facebook business page is linked to a personal Facebook account in the name of
“Thomas Cliff Ballard.” Records obtained from Facebook show that the “Thomas Cliff Ballard”
Facebook account is associated with a telephone number ending in 7148. Records obtained from
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Youtube show that the YouTube channel “CliffCares” registered using the same telephone number
ending in 7148.

        Records obtained from Verizon show that the telephone number ending in 7148 is
subscribed to by “Thomas J. Ballard” at a street address in Fort Worth, Texas. FBI agents spoke
to the postal carrier assigned to the address, who informed the FBI agents that the occupant of the
residence is THOMAS BALLARD.

       The FBI obtained a copy of the Texas driver’s license photograph for THOMAS
BALLARD and confirmed that the individual in the driver’s license photo matches the
individual seen in 325-AFO-A. Moreover, the Texas driver’s license records for BALLARD
include the street address associated with the telephone number ending in 7148.

        I have observed publicly available video of BALLARD, wearing an “Infowars” baseball
cap and tan backpack, taken from the area of the Lower West Terrace during the Capitol Riots. At
various times, BALLARD can be seen at the front of the rioters confronting the U.S. Capitol Police
and/or Metropolitan Police Department officers defending the Lower West Terrace archway. In
one video, BALLARD can be seen holding a black police baton as he confronts the officers while
other rioters attack the officers. A screenshot from one such video, with BALLARD circled in
red, and an arrow pointing at the baton, is shown below.




        I have also reviewed publicly available video taken during the riots which show that a
approximately 4:47 p.m., BALLARD threw a tabletop at the police officers defending the Lower
West Terrace archway. Screenshot from one of the videos is shown below, with the desktop
circled in red, and the baton can be seen in BALLARD’s right hand.
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       I have also reviewed publicly available video taken during the riots which show that at
approximately 4:50 p.m., BALLARD used the baton to assault the police officers defending the
Lower West Terrace archway. A screenshot from one of the videos is shown below, with
BALLARD circled in red, and an arrow pointing at the baton.
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       I have also reviewed footage from body-worn cameras worn by officers defending the
Lower West Terrace archway. This footage also shows BALLARD’s assault with the baton at
approximately 4:50 p.m. A screenshot from the body-worn camera footage is shown below, with
BALLARD’s hand and the baton circled in red.




         Based on the foregoing, your affiant submits that there is probable cause to believe that
THOMAS BALLARD violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to forcibly
assault, resist, oppose, impede, intimidate, or interfere with any person designated in section 1114
of title 18 while engaged in or on account of the performance of official duties and using a deadly
or dangerous weapon (including a weapon intended to cause death or danger but that fails to do so
by reason of a defective component). Persons designated within section 1114 include any person
assisting an officer or employee of the United States in the performance of their official duties.

        Your affiant submits there is also probable cause to believe that THOMAS BALLARD
violated 18 U.S.C. § 231(a)(3) and § 2, which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

        Your affiant submits that there is also probable cause to believe that THOMAS BALLARD
violated 18 U.S.C. § 1752(a)(1), (2), and (4), which make it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do so; (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
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Government business or official functions; (4) knowingly engages in any act of physical violence
against any person or property in any restricted building or grounds; or attempts or conspires to do
so; and (b)(1)(A) during and in relation to the offense, did use and carry a deadly and dangerous
weapon, to wit: a traffic barrier and a stick-like object. For purposes of Section 1752 of Title 18,
a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a building
or grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Finally, your affiant submits there is probable cause to believe that THOMAS BALLARD
violated 40 U.S.C. §§ 5104(e)(2)(D), (F) and (G), which make it a crime to willfully and
knowingly: (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; (F) engage in an act of physical violence in the Grounds or
in any of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.


                                                      _________________________________
                                                      Jimmy Beachum III
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of July, 2021.
                                                                      2021.07.26
                                                                      11:34:28 -04'00'
                                                    _____________________________________
                                                    HONORABLE ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
